In The Matter Of:

Hayden v.
Butler

Butler, Mr. Paul G.
September 3, 2014

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Mr. Butler

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Okay. Was this at the School of Government?
Yes.
Okay. Tell me about that.
Well, that's what we called it, baby judge school.
Okay.
Jamie Markham and particularly the Justice
Reinvestment Act.
Okay.
So I went once and then I went back again.
Okay. And you'll probably go again, if I know
Jamie Markham. All right. All right.

Do you remember the dates?
I--I went pretty early on, after I was sworn--
Okay. So--
--after I was--
--sometime in 2013?
Oh, yeah.
Okay. All right.
It was that spring.
All right. All right. Any other training like
that, outside of--
We went to the National Parole Board chairman's
meeting this past spring, which was most

informative--

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Okay.

--attending a lot of the classes while we were
there.

Okay.

And I--I sit on the Sentencing Commission by virtue
of being the chairman of the Parole Board, which is
most educational.

All right. When you arrived here at the Parole
Commission, did you have any in-house training on,
kind of, operations?

Oh, yeah.

All right.

Oh, yeah. I mean--

Tell--tell me about that.

--I didn't vote for a couple months.

Okay.

Till I observed and--and felt like I was
comfortable to vote.

Who worked with you, to get you up to speed here?
Mary worked with me.

Mary Stevens?

Yes.

All right.

Oh, yeah. Mary--Mary worked with me, and then I

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the future are just staggering. And we may not
have enough case analysts as this thing keeps--you
know, it--people are saying it's going to take five
years to see if Justice Reinvestment--

All right. I want to focus for a little bit on
felony parole. Right? And so about half your
caseload yesterday was cases where felony parole
was being considered. And could you tell me the
factors that you consider when you're voting on a
felony parole decision?

Well, first, we--we read what the analyst says.
Okay.

What the analyst's recommendations are.

Okay. Do you ever vote to override an analyst's
recommendation?

We have, yes.

All right. Have you voted to recommend parole in a
case where an analyst recommended that it be
denied?

We--what we--what is the normal practice is, if we
feel that we should take a look at somebody
further, the--for a MAPP, that--that we have our
psychologist do a--a--a psychological on the

individual first. We order a psychological. Then

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may would know us and call us, and we would then
call the--if we thought it was justified, and
that's very infrequent.

All right. But that's--that's not in the course of
why they're deciding to grant a felony--

No.

--parole down?

That has nothing to do with it.

Oh. So that's a separate--

That's a separate--

All right.

--issue.

All right. Do you ever--when considering whether
to vote--to grant a felony parole, do you ever talk
with other commissioners about the cases?

Yes.

Is that fairly common?

It--we have so many cases now at--that we--the
voting goes--the--the--the voting goes--some--
sometime, but you--maybe a lot, not. I mean, we--
we--we--there's no huge conference that gets
together and says, "Let's discuss this," or, "Let's
discuss that." It's, this commissioner votes, this

commissioner votes, it comes to me, or it comes to

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CERTIFICATE OF WITNESS

I, , a witness in

the above-entitled action, do hereby certify that I have
reviewed the foregoing transcription of my deposition and
have made corrections, if any were deemed necessary, on the

enclosed addendum.
Signed this day of : , 2014.

(PAUL G. BUTLER)
sjg: (09-03-2014)

